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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al,              §
                                         §
                                         §
        Plaintiffs,                      §
                                         §
 v.                                      §          Civil Action No. 4:20-cv-00957-SDJ
                                         §
 GOOGLE LLC,                             §
                                         §
                                         §
        Defendant.                       §



DEFENDANT GOOGLE LLC’S REDACTED MOTION FOR SUMMARY JUDGMENT
    ON PLAINTIFFS’ ANTITRUST CLAIMS, STATEMENT OF UNDISPUTED
  MATERIAL FACTS IN SUPPORT OF GOOGLE’S MOTIONS FOR SUMMARY
              JUDGMENT, AND SUPPORTING MATERIALS

       Pursuant to the Court’s November 21, 2024 Order (ECF No. 685), Defendant Google LLC

(“Google”) respectfully submits a redacted version of its Motion for Summary Judgment on

Plaintiffs’ Antitrust Claims (ECF No. 674), corrected Statement of Undisputed Material Facts in

Support of Google’s Motions for Summary Judgment (ECF No. 682), and Declaration of R.

McCallum in Support of Google’s Motions for Summary Judgment with all attached exhibits (ECF

No. 674-3), which were filed under seal on November 18, 2024.
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Dated: December 9, 2024                     Respectfully submitted,

                                            /s/ Eric Mahr
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                               CERTIFICATE OF SERVICE

       I certify that on December 9, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                          /s/ Eric Mahr




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